                Case 2:22-mj-00161-AC Document 3 Filed 11/28/22 Page 1 of 1

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                                                                                 Nov
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                                                                            EASTERN DISTRICT OF CALIFORNIA


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 8                               IN THE UNITED STATES DISTRICT COURT

 9                                    EASTERN DISTRICT OF CALIFORNIA

10
                                                                CASE NO. 2:22-mj-161-AC
11   United States of America,
12                       Plaintiff,                             SEALING ORDER
           v.
13

14                LOUIS MENDONSA,                               UNDER SEAL

15                     Defendant.
16

17                                             SEALING ORDER
18          Upon Application of the United States of America and good cause having been shown,
19          IT IS HEREBY ORDERED that the file in the above-captioned matter be, and is hereby ordered,
20 SEALED until further order of this Court.
21

22    Dated:    November 28, 2022
                                                       Hon. Allison Claire
23                                                     U.S. MAGISTRATE JUDGE
24

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26

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28

      SEALING ORDER
